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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY



    ROOFERS’ PENSION FUND, Individually
    and On Behalf of All Others Similarly
    Situated,

                      Plaintiffs,           Civil Action No. 2:16-cv-2805-MCA-LDW
                v.

    PERRIGO COMPANY, PLC, et al.,

                      Defendants.


    CARMIGNAC GESTION, S.A.,                Civ. A. No. 2:17-CV-10467-MCA-LDW

                      Plaintiff,

                v.

    PERRIGO COMPANY PLC, et al.,

                      Defendants.


    FIRST MANHATTAN CO.,                    Civ. A. No. 2:18-CV-02291-MCA-LDW

                      Plaintiff,

                v.

    PERRIGO COMPANY PLC, et al.,

                      Defendants.
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    MANNING & NAPIER ADVISORS, LLC, Civ. A. No. 2:18-CV-00674-MCA-LDW

                      Plaintiff,

                v.

    PERRIGO COMPANY PLC, et al.,

                      Defendants.


    NATIONWIDE MUTUAL FUNDS, on     Civ. A. No. 2:18-CV-15382-MCA-LDW
    behalf of its series NATIONWIDE
    GENEVA MID CAP GROWTH FUND and
    NATIONWIDE S&P 500 INDEX FUND,
    et al.,

                      Plaintiffs,

                v.

    PERRIGO COMPANY PLC, et al.,

                      Defendants.


    ABERDEEN CANADA FUNDS –             Civ. A. No. 2:19-cv-06560-MCA-LDW
    GLOBAL EQUITY FUND, a series of
    ABERDEEN CANADA FUNDS, et al.,

                      Plaintiffs,

                v.

    PERRIGO COMPANY PLC, et al.,

                      Defendants.




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    SCHWAB CAPITAL TRUST on behalf of Civ. A. No. 2:19-cv-03973-MCA-LDW
    its series SCHWAB S&P 500 INDEX
    FUND, SCHWAB TOTAL STOCK
    MARKET INDEX FUND, SCHWAB
    FUNDAMENTAL U.S. LARGE
    COMPANY INDEX FUND, and SCHWAB
    HEALTH CARE FUND, et al.,

                       Plaintiffs,

                 v.

    PERRIGO COMPANY PLC, et al.,

                       Defendants.


    HAREL INSURANCE COMPANY, LTD., Civil Action No. 2:18-cv-02074-MCA-LDW
    et al.,

                       Plaintiffs,

                v.

    PERRIGO CO. PLC, et al.,

                       Defendants.


    TIAA-CREF INVESTMENT                Civil Action No. 2:18-cv-08175-MCA-LDW
    MANAGEMENT, LLC, et al.,

                       Plaintiffs,

                v.

    PERRIGO CO. PLC, et al.,

                       Defendants.




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    OZ MASTER FUND, LTD., et al.,          Civ. A. No. 19-cv-04900-MCA-LDW

                       Plaintiffs,

                  v.

    PERRIGO CO., PLC, et al.,

                       Defendants.

                                       )
    MASON CAPITAL L.P., et al.,        )
                                       )
                         Plaintiffs,   )
                                       )       Civil Action No. 2:18-CV-01119-MCA-
             v.                        )       LDW
                                       )
    PERRIGO CO., PLC, et al.,          )
                                       )
                         Defendants.   )
                                       )
                                       )
    PENTWATER EQUITY                   )
    OPPORTUNITIES MASTER FUND,         )
    LTD., et al.,                      )
                                       )
                         Plaintiffs,   )
                               v.      )       Civil Action No. 2:18-CV-01121-MCA-
                                       )       LDW
    PERRIGO CO., PLC, et al.,          )
                                       )
                         Defendants.   )
                                       )




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                                     )
    WCM ALTERNATIVES: EVENT-         )
    DRIVEN FUND, et al.,             )
                                     )
                         Plaintiffs, )                Civil Action No. 2:18-cv-16204-MCA-
                                     )                LDW
                                     )
            v.                       )
                                     )
    PERRIGO CO., PLC, et al.,        )
                                     )
                         Defendants. )
                                     )
                                     )
    HUDSON BAY MASTER FUND LTD, et )
    al.,                             )
                                     )
                         Plaintiffs, )                Civil Action No. 2:18-cv-16206-MCA-
                                     )                LDW
            v.                       )
                                     )
    PERRIGO CO., PLC, et al.,        )
                                     )
                         Defendants. )
                                     )

                            NOTICE OF JOINT MOTION TO SEAL

         PLEASE TAKE NOTICE that on January 6, 2020, or as soon as the Court deems

  appropriate, the United States will move the Court, pursuant to Local Rule of Civil Procedure

  5.3(c), to keep under seal portions of the letter filed on November 22, 2019 by Lowenstein

  Sandler on behalf of Class Plaintiffs (ECF Nos. 232 and 233) and portions of the letter filed on

  November 22, 2019 by Plaintiffs in the following six Individual Actions: Carmignac Gestion,

  S.A. v. Perrigo Co. plc, et al., No. 2:17-cv-10467-MCA-LDW (D.N.J.); Manning & Napier

  Advisors, LLC v. Perrigo Co. plc, et al., No. 2:18-cv-00674-MCA-LDW (D.N.J.); First

  Manhattan Co. v. Perrigo Co. plc, et al., No. 2:18-cv-02291-MCA-LDW (D.N.J.); Nationwide

  Mutual Funds, on behalf of its series Nationwide Geneva Mid Cap Growth and Nationwide S&P



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  500 Index Fund, et al. v. Perrigo Co. plc, et al., No. 2:18-cv-15382-MCA-LDW (D.N.J.);

  Aberdeen Canada Funds – Global Equity Fund, a series of Aberdeen Canada Funds, et al. v.

  Perrigo Co. plc, et al., No. 2:19-cv-06560-MCA-LDW (D.N.J.); Schwab Capital Trust on behalf

  of its series Schwab S&P 500 Index Fund, Schwab Total Stock Market Index Fund, Schwab

  Fundamental U.S. Large Company Index Fund, and Schwab Health Care Fund, et al. v. Perrigo

  Co. plc, et al., No. 2:19-cv-03973-MCA-LDW (D.N.J.) (Carmignac Gestion, S.A. v. Perrigo Co.

  plc, et al., No. 2:17-cv-10467-MCA-LDW (D.N.J.), ECF Nos. 78 and 791) (collectively, the

  “November 22 Letters”).

            PLEASE TAKE FURTHER NOTICE that the United States will rely on the

  accompanying Proposed Findings of Fact and Conclusions of Law, the redacted versions of the

  November 22 Letters, filed separately, and the Declaration of Ryan Danks in support of the

  motion. Class Plaintiffs take no position and Individual Action Plaintiffs and Defendants do not

  oppose this motion. A proposed order is attached pursuant to the Local Rules.

            PLEASE TAKE FURTHER NOTICE that Defendant Perrigo Company plc

  (“Perrigo”) will also move to seal the same materials (portions of letters filed on November 22,

  2019 described above) and also to seal Attachment A to the letter from Greenbaum Rowe on

  behalf of all defendants (Perrigo, Judy Brown, and Joseph Papa, collectively “Defendants”) on

  November 22, 2019 (ECF Nos. 234 and 235) (“Defendants’ November 22 Letter”).

            PLEASE TAKE FURTHER NOTICE that Perrigo will rely on the accompanying

  Letter Brief, the Proposed Findings of Fact and Conclusions of Law, the proposed findings of

  fact and conclusions of law as set forth in the Letter Brief and the proposed Order, the redacted

  versions of the November 22 Letters and the Defendants’ November 22 Letter, filed separately,



  1
      Identical letters were also docketed in each of the six Individual Actions listed above.

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  and the Declaration of James E. Anklam in support of Perrigo’s motion. Individual Action

  Plaintiffs and the United States do not take any position on Perrigo’s Motion. Class Plaintiffs

  take the position that Attachment A does not qualify for sealing. A proposed order is attached

  pursuant to the Local Rules.

         PLEASE TAKE FURTHER NOTICE that annexed hereto as Exhibit A is an Index

  relating to this Joint Motion to Seal.

         PLEASE TAKE FURTHER NOTICE that a proposed form of Order is submitted

  herewith.

  Dated: December 6, 2019

                                               Respectfully submitted,
                                                /s/ Elizabeth A. Gudis
                                               Elizabeth A. Gudis
                                               Nathan D. Brenner
                                               Trial Attorneys
                                               U.S. Department of Justice
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                                               elizabeth.gudis@usdoj.gov

                                               COUNSEL FOR INTERVENOR-UNITED STATES



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                                     Counsel for Defendant Perrigo Company plc




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Exhibit A – Index in Support of Motion to Seal (requests by United States and by Perrigo)
Requests by United States:
                                                                                                                                       Party in
                                                         Clearly Defined and Serious            Why a Less Restrictive Alternative
                                                                                                                                       Opposition
       Material            Basis For Sealing             Injury that Would Result if Relief     to the Relief Sought is Not
                                                                                                                                       to Sealing,
                                                         is Not Granted                         Available
                                                                                                                                       if Any

 Letter filed by Lowenstein Sandler on behalf of Class Plaintiffs on November 22, 2019 (ECF Nos. 232 and 233)

 Starting at page 2,
                                                         Public disclosure of those facts
 first bullet, beginning   DOJ requests sealing of the                                          Only limited and tailored redactions
                                                         could cause significant harm to the
 with the word             information because it                                               are proposed. The United States
                                                         United States’ investigation because
 “Defendant” and           would reveal specific non-                                           maintains that any public revelation
                                                         it could reveal the scope and focus
 going through the         public facts gathered as                                             of the information covered by the      None
                                                         of an ongoing investigation and
 fourth bullet on Page     part of DOJ’s                                                        proposed redactions would risk the
                                                         could be damaging to the reputation
 3, ending with “¶         investigation.                                                       injury described in the preceding
                                                         and privacy interests of the named
 287.”                     Danks Decl. ⁋ 5.                                                     column.
                                                         individuals.
                                                         Public disclosure of those facts
                           DOJ requests sealing of the                                          Only limited and tailored redactions
                                                         could cause significant harm to the
 Page 3, Footnote 1,       information because it                                               are proposed. The United States
                                                         United States’ investigation because
 beginning with the        would reveal specific non-                                           maintains that any public revelation
                                                         it could reveal the scope and focus
 word “Mr.,” through       public facts gathered as                                             of the information covered by the      None
                                                         of an ongoing investigation and
 the end of the            part of DOJ’s                                                        proposed redactions would risk the
                                                         could be damaging to the reputation
 sentence.                 investigation.                                                       injury described in the preceding
                                                         and privacy interests of the named
                           Danks Decl. ⁋ 5.                                                     column.
                                                         individuals.
 Page 4, Section 2,
                                                         Public disclosure of those facts
 first paragraph, at the   DOJ requests sealing of the                                          Only limited and tailored redactions
                                                         could cause significant harm to the
 sentence which            information because it                                               are proposed. The United States
                                                         United States’ investigation because
 begins with               would reveal specific non-                                           maintains that any public revelation
                                                         it could reveal the scope and focus
 “Plaintiffs currently     public facts gathered as                                             of the information covered by the      None
                                                         of an ongoing investigation and
 plan,” starting after     part of DOJ’s                                                        proposed redactions would risk the
                                                         could be damaging to the reputation
 the word “including”      investigation.                                                       injury described in the preceding
                                                         and privacy interests of the named
 through the end of        Danks Decl. ⁋ 5.                                                     column.
                                                         individuals.
 the sentence.
                                                                                                                                                     1
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                                                                                                                                         Party in
                                                           Clearly Defined and Serious            Why a Less Restrictive Alternative
                                                                                                                                         Opposition
          Material           Basis For Sealing             Injury that Would Result if Relief     to the Relief Sought is Not
                                                                                                                                         to Sealing,
                                                           is Not Granted                         Available
                                                                                                                                         if Any
    Letter filed by Plaintiffs on November 22, 2019 (Carmignac Gestion, S.A. v. Perrigo Co. plc, et al., No. 2:17-cv-10467-MCA-LDW (D.N.J.), ECF Nos.
    78 and 791)
                                                           Public disclosure of those facts
    Page 2, second full      DOJ requests sealing of the                                          Only limited and tailored redactions
                                                           could cause significant harm to the
    paragraph, first         information because it                                               are proposed. The United States
                                                           United States’ investigation because
    sentence, starting       would reveal specific non-                                           maintains that any public revelation
                                                           it could reveal the scope and focus
    after “including,” and   public facts gathered as                                             of the information covered by the      None
                                                           of an ongoing investigation and
    ending prior to “who     part of DOJ’s                                                        proposed redactions would risk the
                                                           could be damaging to the reputation
    we intend”               investigation.                                                       injury described in the preceding
                                                           and privacy interests of the named
                             Danks Decl. ⁋ 5.                                                     column.
                                                           individuals.




1
    Identical letters were also filed in each of the following Individual Actions: Manning & Napier Advisors, LLC v. Perrigo Co. plc, et al., No. 2:18-
     cv-00674-MCA-LDW (D.N.J.); First Manhattan Co. v. Perrigo Co. plc, et al., No. 2:18-cv-02291-MCA-LDW (D.N.J.); Nationwide Mutual
     Funds, on behalf of its series Nationwide Geneva Mid Cap Growth and Nationwide S&P 500 Index Fund, et al. v. Perrigo Co. plc, et al., No. 2:18-
     cv-15382-MCA-LDW (D.N.J.); Aberdeen Canada Funds – Global Equity Fund, a series of Aberdeen Canada Funds, et al. v. Perrigo Co. plc, et
     al., No. 2:19-cv-06560-MCA-LDW (D.N.J.); Schwab Capital Trust on behalf of its series Schwab S&P 500 Index Fund, Schwab Total Stock
     Market Index Fund, Schwab Fundamental U.S. Large Company Index Fund, and Schwab Health Care Fund, et al. v. Perrigo Co. plc, et al., No.
     2:19-cv-03973-MCA-LDW (D.N.J.)
                                                                                                                                                        2
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Requests by Perrigo:

              Material                     Basis for          Clearly Defined and            Why a Less          Prior     Party in
                                           Sealing             Serious Injury that            Restrictive       sealing Opposition to
                                                          Would Result if the Relief      Alternative is not            Sealing, if any,
                                                                 is Not Granted               Available                   and Basis
Letter filed by Lowenstein Sandler on   Discovery         If seal is not granted, the   There is no less        n/a     none
behalf of Class Plaintiffs on           confidentiality   filings would (i) reveal      restrictive alternative
November 22, 2019 (ECF 232) –           under Federal     confidential discovery        available because
approve the redacted versions of the    Rules 26, 30,     efforts which are protected   the nature of the
papers already filed (ECF 233)          31, and 34; the   under Federal Rules 26, 30,   filings would
                                        information       31, and 34; (ii) reveal       publicly reveal non-
                                        could reveal      information about an          public discovery
                                        specific non-     ongoing DOJ investigation     activities. There is
                                        public facts      that has been kept            also no less
                                        gathered as       confidential by the DOJ       restrictive alternative
                                        part of DOJ’s     and Perrigo; (iii)            that would protect
                                        investigation     potentially be damaging to    the confidential DOJ
                                                          the reputation and privacy    investigation
                                                          interests of the named        information.
                                                          individuals

Attachment A to Letter filed by         Discovery         If seal is not granted, the   There is no less        n/a     Lead Plaintiff
Greenbaum Rowe on behalf of all         confidentiality   filings would (i) reveal      restrictive alternative         takes the
Defendants on November 22, 2019         under Federal     confidential discovery        available because               position that
(ECF 235) – approve the redacted        Rules 26, 30,     efforts which are protected   the nature of the               the Attachment
versions of the papers already filed    31, and 34        under Federal Rules 26, 30,   filings would                   A to the
(ECF 234)                                                 31, and 34                    publicly reveal non-            Defendants’
                                                                                        public discovery                November 22
                                                                                        activities.                     Letter does not


                                                                                                                                           3
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                                                                                                                              qualify for
                                                                                                                              sealing.

    Letter filed by Plaintiffs on           Discovery         If seal is not granted, the    There is no less        n/a      none
    November 22, 2019 (Carmignac ECF        confidentiality   filings would (i) reveal       restrictive alternative
    792) – approve the redacted versions    under Federal     confidential discovery         available because
    of the papers already filed             Rules 26, 30,     efforts which are protected    the nature of the
    (Carmignac ECF 78)                      31, and 34; the   under Federal Rules 26, 30,    filings would
                                            information       31, and 34; (ii) reveal        publicly reveal non-
                                            could reveal      information about an           public discovery
                                            specific non-     ongoing DOJ investigation      activities. There is
                                            public facts      that has been kept             also no less
                                            gathered as       confidential by the DOJ        restrictive alternative
                                            part of DOJ’s     and Perrigo; (iii)             that would protect
                                            investigation     potentially be damaging to     the confidential DOJ
                                                              the reputation and privacy     investigation
                                                              interests of the named         information.
                                                              individuals




2
    All citations to the Individual Action Plaintiffs’ November 22 Letter are to the letter filed in the Carmignac action; identical letters were filed in
      each of the following Individual Actions: Carmignac Gestion, S.A. v. Perrigo Co. plc, et al., No. 2:17-cv-10467-MCA-LDW; Manning & Napier
      Advisors, LLC v. Perrigo Co. plc, et al., No. 2:18-cv-00674-MCA-LDW; First Manhattan Co. v. Perrigo Co. plc, et al., No. 2:18-cv-02291-
      MCA-LDW; Nationwide Mutual Funds, on behalf of its series Nationwide Geneva Mid Cap Growth and Nationwide S&P 500 Index Fund, et al.
      v. Perrigo Co. plc, et al., No. 2:18-cv-15382-MCA-LDW; Aberdeen Canada Funds – Global Equity Fund, a series of Aberdeen Canada Funds,
      et al. v. Perrigo Co. plc, et al., No. 2:19-cv-06560-MCA-LDW; Schwab Capital Trust on behalf of its series Schwab S&P 500 Index Fund,
      Schwab Total Stock Market Index Fund, Schwab Fundamental U.S. Large Company Index Fund, and Schwab Health Care Fund, et al. v. Perrigo
      Co. plc, et al., No. 2:19-cv-03973-MCA-LDW.
                                                                                                                                                         4
